                  UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS

                                   )
CHANMONY HUOT, VLADIMIR SALDANA,   )
CHAMPA PANG, THOEUN KONG,          )
LIANNA KUSHI, DENISSE COLLAZO,     )
SUE J. KIM, SOADY OUCH,            )
TOOCH VAN, CARMEN BERMUDEZ, KEI    )
KAWASHIMA-GINSBERG, DANIEL K. UK, )
AND FAHMINA ZAMAN,                 )
                                   )
                    Plaintiffs,    )
                                   )        CIVIL ACTION
                    v.             )        NO. 17-10895-WGY
                                   )
CITY OF LOWELL, MASSACHUSETTS;     )
KEVIN J. MURPHY, IN HIS            )
OFFICIAL CAPACITY AS LOWELL        )
CITY MANAGER; LOWELL CITY          )
COUNCIL; RITA MERCIER, RODNEY      )
M. ELLIOTT, EDWARD J. KENNEDY, JR.,)
JOHN J. LEAHY, WILLIAM             )
SAMARAS, JAMES L. MILINAZZO,       )
DANIEL P. ROURKE, COREY A.         )
BELANGER, JAMES D. LEARY, IN       )
THEIR OFFICIAL CAPACITIES AS       )
MEMBERS OF THE LOWELL CITY         )
COUNCIL; LOWELL SCHOOL             )
COMMITTEE; STEPHEN J. GENDRON,     )
JACQUELINE DOHERTY, CONNIE A.      )
MARTIN, ROBERT J. HOEY, JR.,       )
ROBERT JAMES GIGNAC, ANDRE         )
DESCOTEAUX, IN THEIR OFFICIAL      )
CAPACITIES AS MEMBERS OF THE       )
LOWELL SCHOOL COMMITTEE; LOWELL    )
ELECTION AND CENSUS COMMISSION;    )
AND BEVERLY ANTHES, JOSEPH MULLEN, )
THEL SAR, THOMAS FR. O’BRIEN,      )
IN THEIR OFFICIAL CAPACITIES       )
AS MEMBERS OF THE LOWELL           )
ELECTION AND CENSUS COMMISSION,    )
                                   )
                    Defendants.    )
                                   )
YOUNG, D.J.                                    November 21, 2017

                     MEMORANDUM OF DECISION

I.   INTRODUCTION

     Chanmony Huot, Vladimir Saldaña, Champa Pang, Thoeun Kong,

Lianna Kushi, Denisse Collazo, Sue J. Kim, Soady Ouch, Tooch

Van, Carmen Bermudez, Kei Kawashima-Ginsberg, Daniel K. Uk, and

Fahmina Zaman (“Plaintiffs”), have brought this action against

the City Of Lowell, Massachusetts; Kevin J. Murphy, in his

official capacity as Lowell City Manager; Lowell City Council;

Rita Mercier, Rodney M. Elliott, Edward J. Kennedy, Jr., John J.

Leahy, William Samaras, James L. Milinazzo, Daniel P. Rourke,

Corey A. Belanger, James D. Leary, in their official capacities

as Members of the Lowell City Council; Lowell School Committee;

Stephen J. Gendron, Jacqueline Doherty, Connie A. Martin, Robert

J. Hoey, Jr., Robert James Gignac, Andre Descoteaux, in their

official capacities as Members of the Lowell School Committee;

Lowell Election and Census Commission; and Beverly Anthes,

Joseph Mullen, Thel Sar, and Thomas FR. O’Brien, in their

official capacities as Members of the Lowell Election and Census

Commission (“Defendants”), alleging that the Defendants’ at-

large election system violated the Plaintiffs’ rights under (1)

Section 2 of the Voting Rights Act, 52 U.S.C. § 10301 (“Section

2”), (2) the Equal Protection Clause of the Fourteenth


                                 [2]
Amendment, and (3) the Fifteenth Amendment.   The Defendants

moved to dismiss the complaint, arguing that it does not state a

claim upon which relief may be granted because (1) the

Plaintiffs do not plead sufficient facts to allege the existence

of a large and geographically compact district that would create

a majority-minority district, and (2) minority groups may not

aggregate their claims and form a minority coalition in order to

sustain a claim under Section 2.   The Plaintiffs opposed the

motion, arguing that they pled sufficient facts to show a

majority-minority district can exist and that minority coalition

claims are in fact cognizable under Section 2.   After a hearing

on October 17, 2017, this Court DENIED the Defendants’ motion to

dismiss because (1) the Plaintiffs demonstrated in their

complaint that a majority-minority district could exist if

certain neighborhoods were combined, and (2) the majority of

circuits and district courts that address the issue have

persuasively concluded that minority coalitions may maintain

claims under Section 2.    This memorandum explains the Court’s

reasoning.

     A.      Procedural History

     The Plaintiffs filed a complaint seeking injunctive and

declaratory relief against the Defendants on May 18, 2017.

Compl. 1, ECF No. 1.    The Defendants moved to dismiss for

failure to state a claim upon which relief can be granted.

                                   [3]
Defs.’ Mot. Dismiss Failure State Claim (“Defs.’ Mot.”), ECF No.

17.   The parties fully briefed the issues.   See Defs.’ Mem. Law

Supp. Mot. Dismiss (“Defs.’ Mem.”), ECF No. 18; Pls.’ Opp’n

Defs.’ Mot. Dismiss (“Pls.’ Opp’n”), ECF No. 21.

      B.    Facts Alleged

      The Plaintiffs are members of the City of Lowell’s minority

community and are also registered voters.     Compl. ¶¶ 15-27.   The

Defendants are the City of Lowell, its City Manager, its City

Council, members of the City Council, its School Committee,

members of the School Committee, the Lowell Election and Census

Commission, and members of the Election and Census Commission.

Id. ¶¶ 28-35.

      There are nine members in the Lowell City Council and six

members in the Lowell School Committee.   Id. ¶ 37.    Members of

the City Council and School Committee are elected in biennial

elections, held in odd-numbered years, and each candidate is

elected at-large, city-wide, in a plurality voting system.       Id.

¶¶ 38-39.   The City of Lowell (“City”) is divided into eleven

separate wards, with each ward encompassing three precincts.

Id. ¶ 40.   The City votes as a single entity in an at-large,

plurality winner-take-all election system, a majority bloc of

voters can elect all of their preferred candidates to the Lowell

City Council and Lowell School Committee.     Id.   This election




                                  [4]
system allegedly dilutes the voting power of the City’s

Hispanic/Latino and Asian-American communities.      Id.

      Minorities constitute over 49% of the City’s total

population, and Hispanics/Latinos and Asian-Americans combined

comprise approximately 40% of the total population.        Id. ¶ 45.

According to the U.S. Census Bureau’s 2011-2015 American

Community Survey, non-Latino whites constitute approximately

50.7% of the City’s total population, 55.7% of its voting age

population, and 61% of its citizen voting age population.       Id. ¶

46.   Asian-Americans constitute approximately 21.8% of the

City’s total population, 21% of its voting age population, and

17% of its citizens voting age population.     Id.

Hispanics/Latinos constitute approximately 18.1% of the City’s

total population, 15.4% of its voting age population, and 15.5%

of its citizen voting age population.    Id.   Blacks/African

Americans constitute approximately 7.1% of the City’s total

population, 6.7% of its voting age population, and 5.3% of its

citizen voting age population.   Id.    According to the 2010 U.S.

Census, non-Latino whites constitute 52.8% of the total

population and 58.1% of the voting age population, Asian-

Americans constitute 20.0% of the total population and 18.8% of

the voting age population, Hispanics/Latinos constitute 17.3% of

the total population and 14.3% of the voting age population, and

Blacks/African Americans constitute 6% of the total population

                                  [5]
and 5.6% of the voting age population.    Id.   The growth in the

City’s minority populations has been steady and significant over

the last three decades.    Id. ¶ 47.   Such diversity is not

reflected on the Lowell City Council or the Lowell School

Committee.   Id. ¶ 48.

     There is allegedly a history of voting discrimination in

the City.    Id. ¶ 90.   Despite the size of each population, there

is not a single Asian-American or Hispanic/Latino sitting on the

Lowell City Council or Lowell School Committee.    Id. ¶ 50.

Asian-American and Hispanic/Latino candidates won only two seats

in the last five Lowell City Council elections.    Id.   No Asian-

American or Hispanic/Latino candidates won a seat on the Lowell

School Committee in the last five elections.    Id.

     In the City, the preconditions in Thornburg v. Gingles, 478

U.S. 30 (1986)1 are allegedly met, and the totality of the

circumstances allegedly demonstrate that Asian-American and

Hispanic/Latino voters together have less opportunity than other

members of the electorate to participate in the political

process and to elect candidates of their choice to the Lowell

City Council and Lowell School Committee.    Id. ¶ 59.   The City’s


     1Gingles sets forth three preconditions for a cognizable
claim under Section 2: (a) the minority group is sufficiently
large and geographically compact to constitute a majority in a
single-member district; (b) the minority group is politically
cohesive; and (c) the white majority votes as a bloc to defeat
the minority’s preferred candidate. 478 U.S. at 50-51.
                                    [6]
Hispanic/Latino and Asian-American residents together are

allegedly sufficiently numerous and geographically compact to

form a majority of the total population, voting age population,

and citizen voting age population in at least one district of a

reasonable and properly apportioned district-based election

system.   Id. ¶ 60.   A district comprising portions of the Acre,

Lower Highlands, and Highlands neighborhoods of the City

allegedly can be drawn.   This district would allegedly satisfy

the Gingles precondition that Asian-Americans and

Hispanics/Latinos form a majority in a single member district.

Id. ¶ 61.   The City’s Hispanic/Latino and Asian-American voters

are allegedly politically cohesive as a coalition minority group

and they tend to vote together in support of minority candidates

of their choice, particularly Asian-American and Hispanic/Latino

candidates.   Id. ¶ 62.   The City’s predominantly white majority

electorate allegedly votes as a bloc in support of different

candidates from those supported by Asian-Americans and

Hispanics/Latinos, and bloc voting by the predominately white

majority consistently defeats the candidates preferred by Asian-

American and Hispanic/Latino voters.     Id. ¶ 63.   In 2013, two

Cambodian-American candidates lost their elections for City

Council despite heavy support from Asian-American and

Hispanic/Latino voters.   Id. ¶ 65.   In 2015, four Cambodian-

American candidates ran for City Council and two ran for the

                                   [7]
School Committee.    Id.   ¶ 66-67.   Both groups lost despite heavy

support from Asian-American and Hispanic/Latino voters.        Id.    In

all elections, the white majority voting bloc allegedly

overwhelmingly favored other candidates and elected its top

choice candidates.   Id. ¶¶ 65-67.

      Only four Asian-American or Hispanic/Latino candidates have

ever been elected to the Lowell City Council, and none has ever

been elected to the Lowell School Committee.      Id. ¶¶ 64-68.      No

Asian-American or Hispanic/Latino candidate has been elected to

either body since the 2011 election, despite the fact that these

groups together comprise approximately 40% of the City’s

population.   Id.   Candidates elected by the predominantly white

majority bloc are allegedly less responsive to the needs and

concerns of minority communities in the City.      Id. ¶ 72.

II.   ANALYSIS

      The Defendants moved to dismiss on two grounds.       First, the

Defendants argued that the Plaintiffs did not plead a

sufficiently large and geographically compact district in which

they would constitute the voting majority, in accordance with

the first factor under Gingles.       See 478 U.S. at 50; see also

Defs.’ Mem. 6-9.    Second, they argued that the Plaintiffs should

not be allowed to proceed with their claims because Section 2

does not allow for different minority groups to aggregate their

claims as a minority coalition.       Defs.’ Mem. 9-13.   The Court

                                      [8]
concluded that the Defendants’ arguments were meritless.     The

Court will address the Defendants’ coalition claim first, given

that a ruling in their favor under this claim would render the

rest of the Plaintiffs’ claims essentially moot.   See generally

Growe v. Emison, 507 U.S. 25, 41 (1993); Nixon v. Kent County,

76 F.3d 1381, 1385-86 (6th Cir. 1996).

     A.    Legal Standard

     To survive a Rule 12(b)(6) motion to dismiss, the

Plaintiffs must include “enough facts [in their complaint] to

state a claim to relief that is plausible on its face.”    Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).   This Court

must “accept as true all well-pleaded facts alleged in the

complaint and draw all reasonable inferences therefrom in the

pleader’s favor.”   Santiago v. Puerto Rico, 655 F.3d 61, 72 (1st

Cir. 2011); see also Simmons v. Galvin, 575 F.3d 24, 30 (1st

Cir. 2009).   The Court “need not accept ‘bald assertions,

unsupportable conclusions, periphrastic circumlocutions, and the

like.’”   Doyle v. Hasbro, Inc., 103 F.3d 186, 190 (1st Cir.

1996) (quoting Aulson v. Blanchard, 83 F.3d 1, 3 (1st Cir.

1996).

     A claim under Section 2 fails unless the three-part test

articulated in Gingles is satisfied.    See 478 U.S. at 50-51; see

also Metts v. Murphy, 363 F.3d 8, 10 (1st Cir. 2004).    “First,

the minority group must be able to demonstrate that it is

                                  [9]
sufficiently large and geographically compact to constitute a

majority in a single-member district.”     Gingles, 478 U.S. at 50.

“Second, the minority group must be able to show that it is

politically cohesive.”    Id. at 51.   “Third, the minority must be

able to demonstrate that the white majority votes sufficiently

as a bloc to enable it -- in the absence of special

circumstances, such as the minority candidate running unopposed

-- usually to defeat the minority's preferred candidate.”       Id.

(internal citation omitted).

     B.      Minority Coalition Under Section 2

     The Defendants first argued that the plain language of

Section 2 does not allow the Plaintiffs to aggregate their

claims.    Defs.’ Mem. 9-11.   In response, the Plaintiffs

maintained that the plain language of Section 2 does permit

minority coalition claims.     Pls.’ Opp’n 13-15.   Next, the

Defendants argued that the Court would contravene the

legislative intent of Section 2 by allowing these claims to

proceed.   Defs.’ Mem. 11-13.   The Plaintiffs, in turn, argued

that a majority of the courts which have addressed this issue

agree that minority coalition claims are cognizable under

Section 2.    Pls.’ Opp’n 16-20.   For the reasons that follow, the

Court agrees that minority coalition claims are cognizable under

Section 2.




                                    [10]
             1.    Minority View: Nixon v. Kent County.

        In Nixon, three African-Americans and three persons of

Hispanic origin filed a class action lawsuit against Kent

County, claiming that the proposed redistricting plan violated

Section 2.    76 F.3d at 1383.   The Sixth Circuit held that

coalition claims were not cognizable under Section 2.     Id. at

1393.    The Sixth Circuit explained that the plain language of

the statute “does not mention minority coalitions, either

expressly or conceptually,” that Section 2 “consistently speaks

of a ‘class’ in the singular,” and that if Congress “had

intended to sanction coalition suits,” the statute would have

read “participation by members of the classes of citizens

protected by subsection (a).”     Id. at 1386.

        The Sixth Circuit further outlined four policy

considerations to support the conclusion that minority

coalitions were not cognizable under Section 2.     Id. at 1390-93.

First, Congress did not find that minority groups form a

distinct “protected minority” when they are aggregated.     Id. at

1390-91.    Second, the authorization of minority coalitions would

allow legislators to “pack” districts with minorities and

“frustrate those who, in good faith, seek to draw district lines

according to the Voting Rights Act's nebulous requirements.”

Id. at 1391.      Third, “[p]ermitting coalition suits effectively

eliminates [the first Gingles threshold question], or, at the

                                     [11]
very least, limits it to cases in which the total of all the

protected minorities is less than a majority in any one

district.”    Id.    Fourth, “allowing coalition suits could change

the Act's purpose from preventing discrimination to advancing

political interest groups and undermining the very meaning and

purpose of democratic government.”      Sara Michaloski, A Tale Of

Two Minority Groups: Can Two Different Minority Groups Bring A

Coalition Suit Under Section 2 Of The Voting Rights Act Of 1965,

63 Cath. U.L. Rev. 271, 288-89 (2013); see Nixon, 76 F.3d at

1391-93.

             2.     Majority View: Fifth and Eleventh Circuits

     Both the Fifth and Eleventh Circuits recognize minority

coalition claims under Section 2.      In League of United Latin

American Citizens, Council No. 4386 v. Midland Independent

School District, 812 F.2d 1494, 1496 (5th Cir. 1987), vacated on

state law grounds, 829 F.2d 546 (5th Cir. 1987), Hispanic and

Black voters filed a class action lawsuit against the school

district, claiming that the at-large system of voting in the

election of trustees for the school district diluted their

votes.   The Fifth Circuit held that there was no error in the

district court’s finding that Hispanic and Black voters could

aggregate their claims.      Id. at 1500.    The Fifth Circuit

explained that both groups “share[d] common experiences in past

discriminatory practices” and that “the two groups have

                                      [12]
political goals that are inseparable.”    Id.   The Fifth Circuit

also noted that “coalition formation will often prove to be

mutually beneficial to the two groups” and that “[t]estimony

presented showed that Blacks and Hispanics worked together and

formed coalitions when their goals were compatible.”    Id. at

1500-01.

     One year later, in Campos v. City of Baytown, 840 F.2d 1240

(5th Cir. 1988), the Fifth Circuit again endorsed minority

coalition claims by holding that “[t]here is nothing in the law

that prevents the plaintiffs from identifying the protected

aggrieved minority to include both Blacks and Hispanics.”    Id.

at 1244.   The Fifth Circuit reasoned that Section 2 protected

the right to vote for both racial and language minorities.    Id.

So long as both groups met the Gingles requirements, they could

aggregate their claims under Section 2.   Id.

     In Concerned Citizens of Hardee County v. Hardee County

Board Of Commissioners, 906 F.2d 524 (11th Cir. 1990), Black and

Hispanic voters filed separate suits against the county

commissioners and school board, alleging that the at-large

voting system used in their elections diluted their combined

votes in violation of Section 2.   Id. at 525-26.   The suits were

later consolidated.   Id.   The Eleventh Circuit held that “[t]wo

minority groups (in this case blacks and hispanics) may be a

single section 2 minority if they can establish that they behave

                                   [13]
in a politically cohesive manner,” thus satisfying the second

Gingles factor.    Id. at 526.   Because the plaintiffs in

Concerned Citizens of Hardee County could not present evidence

of political cohesiveness, their Section 2 claim failed.      Id. at

527.

            3.    Other Support for Minority Coalitions

       Judge Keith dissented in Nixon, explaining that minority

coalition claims are cognizable under Section 2.    Nixon, 76 F.3d

at 1396 (Keith, J., dissenting).    He reasoned that the term

“class of citizens” is ambiguous and requires an examination of

the legislative history of the statute for clarification.     Id.

at 1394.   He pointed out that the 1975 amendment to the statute,

which broadened Section 2 to protect language minorities,

suggests that Congress was aware of the need for protected

groups to aggregate their claims.    Id.   Moreover, before the

amendment was passed the Supreme Court decided Wright v.

Rockefeller, 376 U.S. 52 (1964), a case in which Black and

Puerto Rican voters aggregated their claims under Section 2.

Judge Keith explained that “[i]f Congress was thus aware that

more than one minority group could be considered to constitute

one plaintiff class in determining the availability of Voting

Rights Act protection, certainly the absence of an explicit

prohibition of minority coalition claims compels a construction

of Section 2 which allows them.”    Nixon, 76 F.3d at 1395.

                                    [14]
     Other circuits have assumed, arguendo, that minority

coalitions are allowed under Section 2.   In Badillo v. City of

Stockton, 956 F.2d 884 (9th Cir. 1992), Hispanic and Black

voters filed suit against the city, claiming that its new at-

large voting system for the general election violated Section 2.

Id. at 885-86.   The Ninth Circuit held that the district court

did not err in finding that “hispanics and blacks together could

form a majority in a single-member district,” even though “the

evidence failed to establish that such a combined group of

blacks and hispanics would vote in a politically cohesive manner

that would guarantee election of a minority representative.”

Id. at 886.   Consequently, the plaintiffs in Badillo did not

satisfy the second Gingles factor and their claims failed.    Id.;

see also Growe v. Emison, 507 U.S. 25, 37-42 (1993) (assuming,

without deciding, that minority coalition claims are cognizable

under Section 2, but holding that the plaintiff failed to

establish political cohesion under Gingles).

     Similarly, in Bridgeport Coalition for Fair Representation

v. City of Bridgeport, 26 F.3d 271 (2d Cir. 1994), vacated and

remanded on other grounds, 512 U.S. 1283 (1994), the Second

Circuit held that a preliminary injunction was warranted against

the city because its reapportionment plan violated Section 2.

Id. at 276.   The Second Circuit explained that coalition



                                  [15]
districts are appropriate under Section 2 so long as the Gingles

factors are met.   Id.

     Section 2’s remedial purpose is best served by allowing

minority coalition claims: “If two minority groups experience

oppression at the hands of the majority, and they are able to

establish the same burden of proof as one minority group might,

then congressional intent to allow minority groups equal

participation in our democratic system of government is best

served by allowing them to form a coalition.”   See Michaloski,

63 Cath. U.L. Rev. at 291.   Moreover, “[s]eparating two

different minority groups for the purpose of bringing a Section

2 violation further separates, classifies and labels minority

groups, thereby further entrenching their minority status rather

than promoting the Act's voting equality goal.”   Id. at 292.   In

addition, as explained in the cases above, even when suits are

brought by a minority coalition, the coalition must still

satisfy all three Gingles factors in order to prove a violation

of Section 2.   See id. at 294.

          4.    First Circuit View on Coalition Claims

     The First Circuit has yet to address coalition claims

directly, but there is jurisprudence to guide this Court in

making its decision to allow coalition claims under Section 2.

In Latino Political Action Committee, Inc. v. City of Boston,

784 F.2d 409 (1st Cir. 1986), a pre-Gingles case, a group of

                                  [16]
Black, Hispanic, and Asian voters sued the city.            Id. at 410.

The plaintiffs argued that the city’s districting plan for the

election of members of the City Council and of the School

Committee violated Section 2.        Id.   The First Circuit held that

the claims failed, not because of aggregation of minority

groups, but because the plaintiffs did not present any evidence

of cohesion among the groups, a factor which later became known

as the second factor in Gingles.        Id. at 414.

      In Black Political Task Force v. Galvin, 300 F. Supp. 2d

291 (D. Mass. 2004) (Selya, J.)2, “the plaintiffs pursued a

theory of aggregation, namely, that African-American and

Hispanic voters function in Boston as a combined cross-racial

coalition with shared interests.”          300 F. Supp. 2d at 294 n.1.

“At trial, however, the testimony concentrated on the voting

patterns of African-Americans.”        Id.    The District Court,

however, did not fully address the aggregated claims, and ruled

that “the district lines must be redrawn” because the

Redistricting Act discriminated against black voters.             Id.    The

District Court, therefore, did not need to “probe the complex

question of whether the plaintiffs' evidence revealed a cohesive

coalition among African-American and Hispanic voters.”             Id.




      2 Of the United States Court of Appeals for the First Circuit, sitting
by designation.

                                       [17]
        Accordingly, in order properly to serve Section 2’s

legislative intent of curing past discrimination and remain

faithful to the reasoning of the majority of the circuit and

district courts which have considered the issue, this Court

DENIED the City’s motion to dismiss because minority coalition

claims are cognizable under Section 2.

        C.     Majority-Minority District under Gingles3

        The Defendants argued that the Plaintiffs did not comply

with the first Gingles factor because they did not provide any

evidence of a majority-minority district.       Defs.’ Mem. 6-9.

They did not argue that the Plaintiffs are obligated to produce

a map of the proposed district, but that the Plaintiffs must

identify more than just the portions of neighborhoods which

would be part of the majority-minority district.       Id. 8 n.4.

The Plaintiffs argued that they alleged sufficient facts to show

that a majority-minority district could be created.        Pls.’ Mem.

6-13.       This Court DENIED the motion to dismiss because the

Plaintiffs adequately pled a majority-minority district in

paragraphs 45-46, 61, 106, and 117 of their complaint in

accordance with the first factor in Gingles.




      The Defendants do not argue that the Plaintiffs failed to
        3

satisfy the remaining two Gingles factors: political
cohesiveness and white majority voting bloc.
                                      [18]
     The first Gingles factor requires the minority group “to

demonstrate that it is sufficiently large and geographically

compact to constitute a majority in a single-member district.”

Gingles, 478 U.S. at 50.      “[M]ere recitation of the Gingles

precondition” is not enough adequately to plead a Section 2

claim.   Luna v. County of Kern, No. 16-cv-00568-DAD-JLT, 2016 WL

4679723, at *4 (E.D. Cal. Sept. 2, 2016).     The First Circuit

cautions against the dismissal of a Section 2 claim at the

pleading stage.   See Metts, 363 F.3d at 11 (“It is no accident

that most cases under section 2 have been decided on summary

judgment or after a verdict, and not on a motion to dismiss.”).

     Here, the Plaintiffs alleged in their complaint that

“minorities constitute over 49% of Lowell’s total population,

and Hispanics/Latinos and Asian-Americans combined comprise

approximately 40% of the total population.”     Compl. ¶ 45.   The

Plaintiffs also alleged that “[i]t is possible to draw

redistricting maps for the City of Lowell in which Asian-

Americans and Hispanics/Latinos would form a majority of the

population in at least one reasonable and properly-apportioned

single-member district for both the Lowell City Council and the

Lowell School Committee . . . [and] a district comprising

portions of the Acre, Lower Highlands, and/or Highlands

neighborhoods of Lowell can be drawn that satisfies this

precondition.”    Id. ¶ 61.   These allegations satisfy the first

                                     [19]
Gingles factor because they do more than just recite the first

factor, they actually offer an idea of what the proposed

district would look like by describing the possible

neighborhoods that could create the district.   See Luna, 2016 WL

4679723, at *4.

III. CONCLUSION

     For the foregoing reasons, this Court on October 17, 2017

DENIED the Defendants’ motion to dismiss, ECF No. 17.   See ECF

No. 22.


                                        /s/ William G. Young
                                        WILLIAM G. YOUNG
                                        DISTRICT JUDGE




                                 [20]
